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                                                                              JS-6
                                                                     E-FILED: 7-8-10
 1
                             UNITED STATES DISTRICT COURT
 2
                           CENTRAL DISTRICT OF CALIFORNIA
 3
     METEORA, LLC,
 4                                                Case No. CV 09-6293 PSG (JEMx)
                      Plaintiff,
 5
     vs.                                          [PROPOSED] ORDER DISMISSING
 6                                                ACTION
     MARSHAL8E6, INC.; ET
 7
                     Defendants and
 8                   Counterclaimants
 9

10         The Court is in receipt of a notice filed by plaintiff advising the Court that all
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     claims and counterclaims have been dismissed, and there are no remaining
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13
     defendants. Accordingly, the Court orders this matter dismissed it its entirety.

14   IT IS SO ORDERED.
15
              July 8, 2010
     DATED: __________________               _________________________________
16                                           Honorable Philip S. Gutierrez
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